           Case 2:20-cv-04911-JDW Document 11 Filed 01/19/22 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 BRIAN BUHLER, et al.,

                Plaintiff,
                                            Case No. 5:20-cv-04911-JDW
       v.

 CITY OF PHILADELPHIA,

                Defendants.


                                       ORDER

      AND NOW, this 19th day of January, 2022, for the reasons given in the

Memorandum in Larry Carter, et al. v. City of Philadelphia, 2:18-cv-04404-JDW (ECF No.

74), it is ORDERED as follows:

      1.       JUDGMENT is ENTERED in favor of Plaintiff Brian Buhler and against

Defendant City of Philadelphia on Count One of the Complaint, in the amount of

$69,924.21;

      2.       JUDGMENT is ENTERED in favor of Plaintiff Tiffany Hawkins and against

Defendant City of Philadelphia on Count Two of the Complaint, in the amount of

$35,283.87;

      3.       JUDGMENT is ENTERED in favor of Plaintiff Amanda Winter and against

Defendant City of Philadelphia on Count Three of the Complaint, in the amount of

$46,607.99;
           Case 2:20-cv-04911-JDW Document 11 Filed 01/19/22 Page 2 of 2




      4.       JUDGMENT is ENTERED in favor of Plaintiff Shelly Brown and against

Defendant City of Philadelphia on Count Four of the Complaint, in the amount of

$31,393.04.

                                      BY THE COURT:

                                      /s/ Joshua D. Wolson
                                      Hon. Joshua D. Wolson
                                      United States District Judge




                                         2
